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UNITED STATES OF AMERICA

                IN THE UNITED STATES DISTRICT COURT

                      FOR THE DISTRICT OF HAWAII

UNITED STATES OF AMERICA,   )             CR. NO.     20-00136 JMS
                            )
                Plaintiff,  )             GOVERNMENT’S CONSOLIDATED
vs.                         )             SENTENCING MEMORANDUM
                            )
KAULANA ALO-KAONOHI, (01) )
LEVI AKI, JR.          (02) )             SENTENCING: March 2, 2023
                            )
                 Defendants )             JUDGE: J. MICHAEL SEABRIGHT

  GOVERNMENT’S CONSOLIDATED SENTENCING MEMORANDUM


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      I.    Relevant Procedural History

      On November 17, 2022, Defendants Kaulana Alo-Kaonohi and Levi Aki, Jr.

were each convicted of a racially motivated hate crime, in violation of 18 U.S.C.

§ 249, for attacking a Caucasian man who had moved into their neighborhood (ECF

278). Following their convictions, the Probation Department filed under seal draft

Presentence Investigation Reports (PSRs) for Defendants Alo-Kaonohi and Aki (ECF

291, 292), along with instructions for each party to file a Sentencing Statement

addressing “objections, if any, concerning the factual information, sentencing

guideline ranges and policy statements that remain in dispute.” (ECF 291-1, 292-1).

On January 31, 2023, Defendant Alo-Kaonohi filed his sentencing statement (ECF

294), Defendant Aki filed a notice of no objection to his draft PSR (ECF 295), and

the government filed its sentencing statement (ECF 296). On February 16, 2023, the

Probation Department filed under seal final PSRs for Defendant Alo-Kaonohi (ECF

299) and Defendant Aki (ECF 300). Pursuant to Local Rule 32.2(e), the United

States of America, by and through its undersigned counsel, hereby files its

consolidated sentencing memorandum.

      II.   Factual Findings and Guidelines Calculations

      The government agrees with the Probation Department’s factual findings

outlined in the final PSRs. The government likewise agrees with the Guidelines

calculations in the final PSRs, with one exception: for the reasons outlined in the

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government’s sentencing statement (ECF 296 at pp. 2-4), the government respectfully

submits that a two-level upward adjustment for obstruction should be applied to both

defendants, which would result in Guidelines ranges of 97-121 months for Defendant

Alo-Kaonohi and 78-97 months for Defendant Aki. Finally, the government agrees

with the Probation Department that “[t]here do not appear to be any aggravating or

mitigating factors regarding the offense or the defendant[s] which would warrant a

departure from the applicable guideline range[s].” (ECF 299, ¶ 80; ECF 300, ¶ 80).

      III.   Sentencing Recommendations

      For the reasons that follow, the government respectfully submits that sentences

of 109 months for Defendant Alo-Kaonohi—the middle of his Guideline range,

factoring in the obstruction enhancement—and 78 months for Defendant Aki—the

low end of his requested Guideline range, factoring in the obstruction enhancement—

are sufficient, but not greater than necessary, to promote the purposes of sentencing.

18 U.S.C. § 3553(a).

             A.    Sentencing Recommendation for Defendant Alo-Kaonohi

      The government recommends a sentence of 109 months for Defendant Alo-

Kaonohi based on the following aggravating factors.

      The brutality of the attack on C.K. Defendant Alo-Kaonohi’s attack against

C.K. was particularly brutal. Defendant Alo-Kaonohi grabbed C.K. by the hair, bent

him over the staircase railing, and repeatedly punched him in the head so forcefully

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that the railing detached from the staircase. Then Defendant Alo-Kaonohi grabbed

C.K.’s roofing shovel and struck him in the back of the head—a blow that opened up

a bloody wound on the back of C.K.’s head and, as Dr. Stephens testified at trial,

could have killed him. After Defendant Aki knocked C.K. unconscious, Defendant

Alo-Kaonohi kicked him while he was down on the ground, breaking two of C.K.’s

ribs. Throughout the attack, Defendant Alo-Kaonohi threatened to kill C.K., tie him

up and drag him, and shoot him with his own gun. The brutality of the attack is an

aggravating factor that should be factored into Defendant Alo-Kaonohi’s sentence.

         Defendant Alo-Kaonohi’s aggravating role.                  It is apparent from the

surveillance video and the trial testimony of C.K. that Defendant Alo-Kaonohi was

the primary instigator and aggressor during the charged incident: he was the first to

confront and physically attack C.K., and throughout the attack, Defendant Aki

appeared to follow his lead. The government did not request a two-level aggravating

role adjustment, under U.S.S.G. § 3B1.1, but nevertheless respectfully submits that

Defendant Alo-Kaonohi’s role as the primary instigator and aggressor is an

aggravating factor that should be factored into his sentence.

         Defendant Alo-Kaonohi’s history of violence. As documented in the final

PSR, and reflected in the following table, Defendant Alo-Kaonohi has a long history

of gratuitous and unprovoked violence.1


1
    Police reports for these cases are appended to this memorandum as Exhibits A1, A2, and A3.
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 Date        Charge(s)                                       Result
 3/27/09     Disorderly Conduct/Harassment                   Guilty
 3/25/12     Felony Assault (Lulu’s Bar Attack)              Dismissed
 1/9/13      Felony Assault (Unknown – see PSR ¶ 47)         Dismissed
 7/20/14     Felony Assault (Steel Horse Saloon Attack)      Guilty
 10/17/20    Felony Domestic Abuse – Strangulation           Dismissed

      Disorderly Conduct/Harassment. On March 27, 2009, Defendant Alo-Kaonohi

was harassing and attempting to fight various people. When the police responded,

Defendant Alo-Kaonohi refused to leave and attempted to punch one of the officers.

                    Attack. On March 25, 2012, a bouncer at                in Waikulu

approached Defendant Alo-Kaonohi and told him that the bar was closing and that it

was time for him to leave. As the bouncer walked away, Defendant Alo-Kaonohi

approached him from behind and, without warning, punched him in the jaw, knocking

him unconscious, loosening his tooth, and breaking his nose and orbital bone.

Defendant Alo-Kaonohi then got on top of the bouncer and continued to punch him

until other patrons and employees pulled him off. Defendant Alo-Kaonohi was

arrested for felony assault, but the case was dismissed when the bouncer decided not

to press charges.

                           Attack. On July 20, 2014, three days after state authorities

attempted to serve an arrest warrant upon Defendant Alo-Kaonohi for the hate crime

against C.K., Defendant Alo-Kaonohi committed a second unprovoked attack on a

white-skinned person, this time at the                    in Maui. Surveillance video

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of the incident shows the victim, P.I., was minding his own business by the bar when

Defendant Alo-Kaonohi approached him from behind and tapped him on the shoulder.

(Surveillance video and witness testimony establish that the two men had no prior

interactions that evening, and P.I. later told authorities that he had never met Defendant

Alo-Kaonohi before that night). As soon as P.I. turned around, Defendant Alo-Kaonohi

reared back and punched him in the face, knocking P.I. to the ground. Defendant Alo-

Kaonohi then jumped on top of P.I. and continued to pummel him while several patrons

tried, unsuccessfully, to pull him off of the bloody and unconscious P.I., who suffered

an open head wound requiring five staples to close; a concussion; and permanent brain

damage. The following photographs depict P.I.’s injuries:




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      Domestic Violence Assault. Defendant Alo-Kaonohi’s sentencing memorandum

asserts that “[b]y the time 2020 rolled around, Kaulana was no longer the impulsive,

angry, and violent person he had been in 2014.” (ECF 301, at 9). And yet on October

17, 2020, Defendant Alo-Kaonohi was arrested for Felony Domestic Abuse –

Strangulation for his assault on K.M.,                       . In a signed statement to

the police, K.M. stated that Defendant Alo-Kaonohi grabbed her by the hair, in front of

                              , and shoved her head into the seat of her vehicle so

forcefully that she could not breathe. According to her signed statement, “she begged

him to stop,” and “he eventually let up.” K.M. later reconciled with Defendant Alo-

Kaonohi and decided not to press charges.

      Defendant Alo-Kaonohi’s history of gratuitous and unprovoked violence has

resulted in significant physical injuries and emotional trauma to his many victims, but

has not resulted in significant jail time for Defendant Alo-Kaonohi. Section 4A1.3 of

the Guidelines provides that “If reliable information indicates that the defendant’s

criminal history category substantially under-represents the seriousness of the

defendant’s criminal history or the likelihood that the defendant will commit other

crimes, an upward departure may be warranted.” The government is not seeking an

upward departure on this basis, but respectfully submits that Defendant Alo-

Kaonohi’s history of gratuitous and unprovoked violence—against police officers,

bouncers, neighbors, strangers, and family members—is substantially under-

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represented by his criminal history category and therefore is another aggravating

factor warranting a significant Guideline sentence.

      The impact of Defendant Alo-Kaonohi’s crimes on his victims. Defendant Alo-

Kaonohi’s attacks on C.K. and P.I. have had a profound impact on their lives.

They have suffered permanent physical injuries, significant financial losses, and, most

importantly, life-changing emotional trauma.       P.I.’s victim-impact statement is

appended to this memorandum as Exhibit B. C.K. intends to give an in-person victim-

impact statement at the defendants’ sentencing hearings.

      The foregoing aggravating factors—the brutality of the hate crime against C.K.,

Defendant Alo-Kaonohi’s aggravating role in that offense, his history of similar

gratuitous and unprovoked violence, and the effect of that violence on his victims—

warrant a serious Guideline sentence. For all of those reasons, the government

respectfully submits that a sentence of 109 months for Defendant Alo-Kaonohi is

sufficient, but not greater than necessary, to promote the purposes of sentencing. 18

U.S.C. § 3553(a).

             B.     Sentencing Recommendation for Defendant Aki

      With respect to Defendant Aki, the government respectfully submits that the

aggravating and mitigating factors, on balance, militate in favor of a sentence of 78

months. Defendant Aki committed a brutal attack on C.K.— striking him in the head

with a shovel, and using that shovel to smash out the windows of his Land Rover

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while C.K. and his uncle tried to escape—but Defendant Aki was not the primary

instigator or aggressor. Defendant Aki has a criminal record, with convictions for

DUI, driving without a license, and criminal contempt of court, but he does not have

a history of violence. For those reasons, the government respectfully submits that a

sentence of 78 months for Defendant Aki is sufficient, but not greater than necessary,

to promote the purposes of sentencing. 18 U.S.C. § 3553(a).



DATED: February 24, 2023, at Honolulu, Hawaii.

                                              Respectfully submitted,

CLARE E. CONNORS                              KRISTEN M. CLARKE
United States Attorney                        Assistant Attorney General
District of Hawaii                            Civil Rights Division

By: /s/ Micah Smith                           By: /s/ Christopher J. Perras
MICAH SMITH                                   CHRISTOPHER J. PERRAS
Assistant U.S. Attorney                       Special Litigation Counsel

                                              By: /s/ Tara Allison
                                              TARA ALLISON
                                              Trial Attorney




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                     Exhibit A1
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           related that he was punched once in the right side of his face but does not know if he lost
consciousness.             kept on repeating "I got false cracked, that`s doodoo."           was observed to be
agitated from being struck and seemed to be somewhat incoherent. He kept on repeating the said phrases and
was unable to remember anything else after the first punch.

              was unable to give any more statement at this time.


OFFICER`S OBSERVATIONS:

          was somewhat incoherent as he kept on repeating the phrase "I got false cracked, that`s doodoo."
While trying to obtain       `s statement, he asked this officer twice on how I got his identification.
     does not remember handing over his identification to this officer.


INJURIES:

          was observed to have laceration above his right eyebrow, redness on his right eye, and a loose front
tooth. Medic IV responded and related that           might have a concussion.             was transported to
Maui Memorial Medical Center Emergency Room for further evaluation.

PHOTOGRAPHS:

Photographs were taken for evidence. Photographs are as follows.

1.            s front view with front tooth sticking lower than the rest
2. Right side of           `s face
3. Laceration on            `s right eye brow
4. Loose front tooth and redness of             `s right eye
5. Bar floor with blood stains, where              fell down after getting punched
6. Closer view of the floor and blood stains
7. Another photo of the blood stains
8. Different view of the bar floor
9. Photograph of the Offender
10. Left forehead of Offender where he claimed to have been punched by
11. Injury to right hand

Photographs were copied to a CD-R and submitted as evidence.


MEDICAL TREATMENT:

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Medic IV transported                       to Maui Memorial Medical Center for further treatment and evaluation.


WITNESS` STATEMENT:

Name:
Residence:                                         HI
DOB:
Telephone:
Work:                            (Bar Attendant)

            related he was working as a Bar Attendant at                                          on 03/25/12. He related as the bar
was closing at approximately 0150 hours, he noticed                                   standing near the east side of the bar area. He
related he was standing across from          .

             related he noticed a male later identified as KAONOHI approached               from the northerly
direction. He stated KAONOHI then punched                   in the face once.        fell down onto the
ground. He stated that he did not see anything else because the bar was blocking his view of            and
KAONOHI. Other security officers then pulled KAONOHI away and escorted him away from                     .

                related that he thinks that                      was knocked out because                           was stumbling when he
got up.

                has nothing further to add at this time.


SUPERVISOR NOTIFIED:

Sgt. D. CORPUZ was present at the scene. He was advised of the circumstances surrounding this incident.


SCENE:

After talking to the witnesses, it was determined that the assault occurred within             and not
outside as the Victim claimed. The scene was located near the east side of the bar.      was standing
near the bar facing the westerly direction when he was punched in the face by KAONOHI. The scene was
photographed.


ARREST MADE:

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Refer to supplementary report submitted by Officer CARTER.


ADDITIONAL INFORMATION:

Refer to supplementary report submitted by other Officers.


CID NOTIFIED:

On 03/25/12 at approximately 0355 hours, Lt. C. VIELA of the Lahaina CID was notified of the
circumstances surrounding this investigation.


DOCTOR`S EVALUATION:

On 03/25/12 at approximately 0440 hours,                                                       was contacted.
According to E.R. personnel,              suffered a concussion without the loss of consciousness, a laceration
to his right eyebrow, and a fractured right orbital and nasal bone. He was treated by           and was
released.


OFFICER`S ACTIONS:

          was recontacted to obtain another statement.                                     was contacted via telephone and gave the
following statements.


VICTIM`S STATEMENTS:

Name:
Alias:
Address:                                HI
Telephone:
DOB:
Work:                            (Bouncer)

           related he was working as a bouncer (security) for                 on 03/25/12. He stated at
approximately 0150 hours, he and the other bouncers were asking their patrons to leave as the restaurant is
closing for business. He noticed Kaulana KAONOHI and                         still sitting on one of the booths

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of the restaurant.

           related he approached the two and asked them to leave the premises as the two were hanging
around. He then left to utilize the restrooms. He exited the restrooms, at which time, Kaulana KAONOHI
approached him and introduced himself as "Rico." KAONOHI asked                     "You remember me?"
      related that he told KAONOHI that he does not know who he is and that he needs to leave.

           stated that he noticed                     talking off his shirt while within the restaurant. He sent
his bouncers (security) to                     to escort him off of the restaurant. He stated that while the other
bouncers were busy with           , he Kaulana KAONOHI approach him from his right side.                   related
that as he was turning towards Kaulana KAONOHI, he was struck in the face with a closed fist. He stated he
fell down to the ground. He stated he "shook off the punch" and stood up as fast as he could. He related he got
up he noticed Kaulana KAONOHI walking out of the restaurant and onto the parking lot.

         related he only remembered the initial punch and that he does not remember getting punched while
he was down on the ground.

          stated he desires prosecution in this matter and that he will be contacting the prosecutor`s office to
pursue the matter.

              has nothing further to add at this time.


INVESTIGATION:

Investigation thus far reveals that on 03/25/12 at approximately 0150 hours, Kaulana KAONOHI punched
                  in the face causing            to fall down.           suffered a laceration on his right
eyebrow, concussion without lose of consciousness, a fractured right orbital and nasal bone. Kaulana
KAONOHI was placed under arrest for the offense of ASSAULT II. He was transported to the Lahaina Police
Station for processing where he refused to give any statement.              was transported to
                where he was treated by                and released. The offense of ASSAULT II was thereby
committed.


DISPOSITION:

Pending.




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                   stated that he grabbed Ka. KAONOHI and they left                                   Stated that he did not know why
              became angry and that Ka. KAONOHI was defending himself.

Nothing more to add at this time.

OFFICER`S ACTIONS/OBSERVATIONS:

I was informed by Ofc. E. BAYLE that the injuries sustained to      were substantial and that he had
identified Kaulana KAONOHI as the responsible. Ofc. BAYLE also informed me that            was being
transported to        for treatment to the injuries he sustained.

Contact was then made with Kaulana KAONOHI, to which he refused a statement. Ka. KAONOHI was
informed that he was being placed under arrest for ASSAULT II, and was placed into handcuffs and placed
into my patrol vehicle.

SPONTANEOUS UTTERANCE:

On several occasions, prior to and during transport, Ka. KAONOHI spontaneously uttered that he did not
punch           . Also uttered several times that he punched        in self defense. Also uttered that
      was angry and aggressive for no reason and that         struck him first.

ARREST/TRANSPORT:

On 03/25/12, at 0226 hours, Kaulana KAONOHI was arrested for the offense of ASSAULT II and transported
to the Lahaina Station without incident.

WARNING AND WAIVER:

On 03/25/12, at 0236 hours, while within the Lahaina Station processing room, Kaulana KAONOHI was
advised of his Constitutional Rights utilizing MPD Form 103. Ka. KAONOHI followed along as I read it
aloud. Ka. KAONOHI initialed the appropriate sections of the form, however, refused to offer a statement at
this time.

*Refer to attached MPD Form 103*

ARRESTEE:

Kaulana KAONOHI (Adult/Hwn/Male/Cit)
DOB:
ADDRESS:

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EMP: Unemployed
HEIGHT: 5`9``
WEIGHT: 210
HAIR: Brown
EYES: Brown

STATEMENT OF: Kaulana KAONOHI

Kaulana KAONOHI refused to offer a statement at this time.

Ka. KAONOHI continued to spontaneously utter that he was defending himself and that                                                   was the
responsible in this matter.

ADDITIONAL INFORMATION:

Refer to reports submitted by other Officers.

DISPOSITION:

Pending...




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KAONOHI. He related that                            definitely did NOT say anything to KAONOHI when he was punched.

He stated that he observed the male that the officer`s arrested to be KAONOHI.

Nothing further to add.

ADDITIONAL INFORMATION:

Refer to other officer`s reports for additional information.




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On 03/28/12 at 1805 hours I contacted                                       via telephone. I reviewed his statement with him and
he related it was accurate and added the following:

             stated after he observed           get punched by KAONOHI, it is accurate that he could not see
the two since they were on the ground; however, he did see KAONOHI`s fist pop up over the bar counter
about three or four times as if he was punching


WITNESS CONTACTED CONTINUED:

            on the ground.               related just prior to KAONOHI punching          KAONOHI`s
father had a verbal altercation with             near the restrooms. He observed KAONOHI`s father remove
his shirt and at that time he observed KAONOHI calming his father down. About thirty seconds later
       arrived at the bar and just hung out there.
              related immediately after hanging out at the bar, KAONOHI approached            and punched
him without warning.

                 stated there was no altercation between KAONOHI and                                       prior to KAONOHI punching
             .


COMPLAINANT RE-CONTACTED:

On Tuesday, March 28, 2012 at about 1835 hours                                    returned my call.

            related he is the                            I reviewed the report with                                            he stated most
of his statement is accurate, except that he started to remember more about the incident.

           said he wanted to add that after the initial punch he fell to the ground and KAONOHI punched him
three to four more times. He also wanted to add that he did not have any physical or verbal altercation with
KAONOHI before being punched.

When asked if he had gone to the doctors,        related he has not seen a doctor for a follow up visit, but
he was told by           (Emergency room doctor) that he suffered a fractured nose, concussion, and
fractured right orbital.

            related the bartender,                                      and one of his bouncers,                                were witnesses
to this incident.



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CRIMINAL HISTORY CHECK:

I conducted a criminal history check on Kaulana KAONOHI, SSN: unknown, DOB:                                                     and the checks
revealed this was the only incident on his record.

WITNESS STATEMENT:

On March 31, 2012 at about 1845 hours I interviewed                                                                    .

                related on the night of March 25, 2012 at the time the bar was closing he was behind the bar.
            was at the bar on the northeast side of it, facing west.                 didn`t see what led up to
       getting punched, but he did see the end of KAONOHI punching                     After the first punched
       went down to the ground. KAONOHI got on top of                     and punched him at least two more
times.                  ran around the bar, but by then              had been restrained by another bouncer.

                      said the attack was unprevoked.

WITNESS STATEMENT

             related he was on duty the night of March 25, 2012 as a bouncer at

          said at closing time (approx. 0130 hours) he had just cleared the dance floor area of patrons. As he
walked to the front of the bar he noticed                       with his shirt off. Kaulana KAONOHI then
grabbed his father (                      and started to walk him out of the bar.            didn`t see what
happened next, but he heard the sound of a punch.               turned around and saw             on the ground.
Kaulana KAONOHI then got on top of                  and started punching him wit a closed fist about three to
four times.

           grabbed Kaulana KAONOHI and walked him out of the bar. As he walked Kaulana KAONOHI out
of the bar he saw the police outside. The police came over and started an investigation.

When asked,                    stated he did not see any verbal or physical confrontation between Kaulana KAONOHI
and


INVESTIGATION:

The investigation far reveals on 03/25/12, at approximately 0150 hours, Kaulana KAONOHI approached
                 who is the                                       Without warning punched             in face
causing            to fall to the ground. KAONOHI then punched              three to four more times in the
face while            was on the ground. It is unknown at this time if         lost consciousness; however,

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                                              Incident/Investigation Report
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          stated he suffered a concussion, a fractured right orbital and fractured nasal bone. KAONOHI was
located and placed under arrest for ASSAULT II.


DISPOSITION:

Refer to the Office of the Prosecuting Attorney for review.




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                     Exhibit A2
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                                 Incident/Investigation   ReportPage 32 of 83                                                            PageID.2605

                      Agency: MPD                       Case Number: 14-030884                                   Date: 1/13/2020 15:57:54




                                                         Incident Information
 Date/Time Reported              Date/Time Found             Date/Time Found             Officer
 07/20/2014 01:15                07/20/2014 01:15            07/20/2014 01:15            (15379) GREEN, JONATHAN J
 Incident Location
                         Wailuku, HI 96793
                                                                                                                                                              387
Location Comment:       :



                                                                      Charges
                            Description                                                                                  Statute              UCR
                                                                                                                                                        Att
     1 State
           Charge Type
                            ASSAULT 2                                                                                    707-0711            13A        Com
Alcohol, Drugs or Computers Used             Location Type                       Premises Entered     Forced Entry       Weapons
 Alcohol  Drugs  Computers                BAR/NIGHT CLUB                                            Yes  No          1. Personal Weapons (hands,
Entry                           Exit                      Criminal Activity                                                2.
                                                          N                                                                3.
Bias Motivation                           Bias Target                          Bias Circumstances                        Hate Group




                                                                       Victims
 Seq. #    Type                            Injuries                                                       Residency Status               Ethnicity

      1    INDIVIDUAL                      Severe Laceration, Apparent Minor Injury                       Resident                       Non-Hispanic
 Name(Last, First, M)                                                                                        Race    Sex           DOB               Age
                                                                                                             W       M
 Address                                                                                                                            Home Phone
                                    HI
 Employer Name/Address                                                                              Occupation                      Business Phone
                                                                                                    SERVER
 Victim of Crimes                                                     Driver's License              SSN                             Cellular Phone
 1




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                      Agency: MPD                    Case Number: 14-030884                                 Date: 1/13/2020 15:57:54




                                                                 Witnesses
 Seq. #    Name (Last, First, M)                                                                       Race     Sex     DOB                 Age
   1                                                                                                   W        F
 Address                                                                                                                   Home Phone
                            HI
 Employer Name/Address                                                                         Occupation                  Business Phone
                                                                                                BARTENDER
 Witness Type                                                       Driver's License           SSN                         Cellular Phone
                                                                                  HI
 Witness Notes




                                                Related Name Relationships
                                                is    STRANGER                                 to    ALO KAONOHI, KAULANA




                                                          Synopsis
VI1 reported on the above date/time to have been assaulted by unknown Offender(s) while within the said
location. VI1 reported to have been punched numerous times in the face and head area, and sustained a
laceration to the left rear side of his head. Medic 1 arrived on the scene and later transported VI1 to
for further medical attention. Refer to Supplementary.



                                                         Continuation
ASSIGNMENT:

Ofc. J. GREEN
FTO Ofc. S. WAIOHU
D-1, Beat 11, Wailuku
Wailuku Patrol Division

On 07/20/14 (Sunday) at approximately 0117 hours, I was on duty and assigned to Wailuku Patrol (IA/A11)
when I was assigned by Dispatch to respond to 1234 Lower Main Street, Steel Horse Saloon, in Wailuku, for
an Disorderly type case in progress, where caller reported two males fighting.

ARRIVAL:

I arrived at the above location on 07/20/14 at approximately 0117 hours, and met the victim, an adult male
later identified as

SCENE/OFFICER`S OBSERVATIONS:

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Upon arrival, I observed a group of people standing outside fronting the                    An adult male,
identified as                  approached me and reported that he had been attacked.              `s head,
face, chest, arms, and hands were observed to be covered in blood. Further checks of             revealed he
was bleeding form his nose, mouth, and head.              then provided the following statement.

VICTIM`S STATEMENT:                                               (A/M/Cau)

Interviewed on 07/20/14 at approximately 0120 hours, fronting 1234 Lower Main Street, Wailuku, where he
related the following:

He had been dancing alone near the front of the bar area minding his own business. While he was dancing, an
unidentified person attacked him from behind and hit him in the head and face area multiple times. He did
not see who hit him, as his back had been facing his attacker. He has never been to the bar before and was
there with a friend, later identified as                      . Neither he nor                  had any
problems with anyone at the bar prior to the attack.

               complained of pain to his head and mouth areas and requested to be treated by medics.

Nothing further to add.

INJURIES:

          sustained an approximate 1.5" laceration to the rear left side of his head, resulting from being
punched multiple times. Victim also sustained swelling to his upper lip area.

MEDICS DISPATCHED:

On07/20/14 at approximately 0135 hours, Medic-1 responded to the scene and treated             for his
injuries.            was later transported to the                             in Alpha condition for
further medical treatment.

WITNESS/OTHER`S STATEMENT:                                                       (A/F/Cau/Cit)

Interviewed on 07/20/14 at approximately 0145 hours, within                                                           where she related the
following:

          is a Bartender and had been working behind the bar at the time if the incident. She heard a
commotion coming from the front of the bar area and observed a young local male attacking                 .
She observed              to be on the ground in a fetal position while the local male was punching him in the
head and face area. She later observed two other unidentified male parties stop the young local male and
escorted him outside to an unknown location.


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             had never seen the Offender or                            in the bar before and did not recognize them.

Nothing further to add.

WEAPONS:

Offender used his fists as weapons in this crime. No other weapons were reported or seen.

SURVEILLANCE:

Surveillance cameras were observed within the bar area. Attempts to obtain video footage were met with
negative results as the manager, identified as                             was unable to access the computer
which contains the video footage. Per                         his mother, identified as
                       is the only person who can access the video surveillance footage.

PHOTOGRAPHS:

(3) Digital images of the injuries sustained by the victim submitted attached to this report.

Photo #1:Digital image of I                        `s face and chest

Photo #2:Digital image of left side of I                          `s head

Photo #3:Digital image of laceration

RESPONSIBLE`S DESCRIPTION:

The unidentified local male responsible in this case is described as:

Adult/Male/ Hawaiian

Medium skin tone

Short brown hair approximately 2" in length

Approximately 5`-8" - 5`-9" tall

Between 26-27 years of age

Last seen wearing a dark colored T-shirt and unknown color shorts.

CHECKS MADE:


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On 07/20/14 at approximately 0156 hours, checks of the immediate area by Officers for the Offender were
met with negative results.

DOCTOR`S REPORT:

On 07/20/14 at 0340 hours, I spoke with emergence nurse                 who informed me that
was treated by Emergency Room Doctor                   for a laceration to the rear left side of his head. Per
                        administered 7 staples to           `s laceration.

ADDITIONAL INFORMATION:

Refer to all reports submitted under this report number.

FOLLOW-UP:

I will be contacting the bar manager                         on 07/20/14 to retrieve video surveillance
footage from the bar`s cameras. The bar will be open on 07/20/14 at 1000 hours and will be closing on
07/21/14 at 0100 hours.

INVESTIGATION:

Thus far reveals that on 07/20/14 (Sunday) at approximately 0115 hours, within the
located at, 1234 Lower Main Street, Wailuku, an unidentified adult local male attacked                   by
punching him multiple times in the head and face area.            sustained an approximate 1.5" laceration to
his head. Medic 1 arrived at the scene and later transported          to
Emergency Room where he received 7 staples to the rear left side of his head.           was later released
without further incident.

DISPOSITION:

Pending...




Officer J. GREEN E-15379
07/20/14 @ 0600
Wailuku Patrol Division




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                     Exhibit A3
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                                              Incident/Investigation Report
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North Firebreak Road in Kahului. She proved the following statement.

             reported she is the girlfriend of Kaulana ALO KAONOHI (hereinafter referred to as ALO
KAONOHI) and they have a one-year-old child in-common, identified as
(hereinafter referred to as

On 10/17/20 at about 2020 hours, while driving home after eating dinner at the Alehouse located at 355 East
Kamehameha Avenue in Kahului, she and ALO KAONOHI began to argue about going to the beach
tomorrow and being direct about the needs of           . She related that ALO KAONOHI had called his brother,
                           (hereinafter referred to as          ) to ask him pick him up on the side of the road
on Haleakala Highway. After pulling over on the west shoulder of Haleakala Highway just above the
intersection with North Firebreak Road, ALO KAONOHI grabbed her bag out of her hands.

             reported ALO KAONOHI briefly exited the vehicle before grabbing her by her hair and pulled her
head down to front passenger`s seat of the vehicle causing her pain to her head. As she struggled with ALO
KAONOHI, he again grabbed her hair on the top of her head and forced her head backwards over the center
console of the vehicle toward the rear seat which caused her breathing to be impeded for about five seconds.
             reported ALO KAONOHI stopped after she begged him relayed that she could not breathe and
further related that she "Thought she was going to die" if he did not let go. ALO KAONOHI then grabbed the
vehicle`s keys and began to walk toward Kahului.                related        who as seated less then two feet
from her was startled and began to cry as the argument escalated and became physical.

              relayed she followed ALO KAONOHI approximately one hundred fifty to two hundred feet where
his brother, identified as                            and his girlfriend, identified as           (hereinafter
referred to as      ), arrived within vehicle bearing Hawaii State license plates        . After getting her
keys back from ALO KAONOHI, she walked back to her vehicle and discovered that                had been taken
from his car seat which was located behind the drivers seat of the vehicle.             relayed she looked for
       for several minutes before she called           who informed her that her mother,
had been contacted and was coming to pick up

Shortly after Police arrived.

                related her head hurt from her hair being pulled but declined any medical attention.

Nothing further added.

MEDICAL TREATMENT:

                declined any medical treatment for her injuries.

OBSERVABLE INJURIES:

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             was observed to have redness and a small abrasion behind her right ear. She complained of pain to
the top of her head due to ALO KAONOHI pulling her hair.

VICTIM VOLUNTARY STATEMENT/STRANGULATION SUPPLEMENT:

After obtaining a statement from               , she agreed to fill out the Victim Voluntary Statement Form
MPD form 100).                initialed and signed the form indicating that the information written on the form
was true and correct.              then completed the Strangulation Supplemental form.

Referred to attached forms.

SUPERVISOR NOTIFIED:

Sergeant D. ARNDS was on scene during this investigation.

DOMESTIC VIOLENCE UNIT NOTIFIED:

On 10/17/20 at about 2144 hours, Sergeant E. QUINTERO of the Domestic Violence Unit was contacted by
Sergeant D. ARNDS and advised of this incident.

STATEMENT OF:                                                                                                           A/F/CIT

Refer to Officer S. LANDSIEDEL`s report.

STATEMENT OF:                                                                                                         A/M/CIT

Refer to Officer S. LANDSIEDEL`s report.

STATEMENT OF:                                                                                                          A/F/CIT

Refer to Officer S. LANDSIEDEL`s report.

DIGITAL IMAGES:

Eight (8) digital images were taken of the victim and the scene. The images were transfer to a CD-R and
submitted as evidence under this report number. They depict the following:

Image1 depicts                      `s full body.
Image2 depicts                      `s upper body.
Image3 depicts                       pointing to the area on her had where she felt pain.

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Image4 depicts the abrasion behind               ` s left ear.
Image5 depicts the area behind              `s right ear.
Image6 depicts the rear/passenger side of vehicle              .
Image7 depicts the front/driver side of vehicle
Image8 depicts the front seats of vehicle           .

Property Control Number: 767442

FURTHER DEVELOPMENTS:

After speaking with MOIKEHA, Officer LANDSIEDEL related that ALO KAONOHI was in-route to speak
with Officers on scene regarding this incident.

On 10/17/20 at about 2204 hours, ALO KAONOHI was driven to the scene by                                                            within
vehicle         .

ARREST/TRANSPORT:

On 10/17/20 at about 2202 hours, on the east shoulder of Haleakala Highway at the intersection of North
Firebreak Road in Kahului, ALO KAONOHI was placed under arrest for the offense of Felony Abuse of a
Family or Household Member - Strangulation and Felony Abuse of a Family Member - In the Presence of a
Minor. ALO KAONOHI was transported to the Wailuku Police Station for processing without incident.

SOBRIETY/DEMEANOR:

ALO KAONOHI displayed no signs of impairment and was calm and cooperative throughout this
investigation.

CONSTITUTIONAL RIGHTS:

On 10/17/20 at about 2233 hours, within the Processing Room of the Wailuku Police Station located at 55
Mahalani Street in Wailuku. He was advised to silently read the form as it was read to him. ALO KAONOHI
initialed and signed the form indicating that he would waive his rights.

Refer to attached form.

STATEMENT OF: ALO KAONOHI, Kaulana                                                                                    A/M/CIT

Interviewed on 10/17/20 at about 2234 hours, within the Processing Room of the Wailuku Police Station
located at 55 Mahalani Street in Wailuku. He provided the following statement.


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ALO KAONOHI reported he has been in a relationship with                                           for approximately three years and
they have a son,  who is a year and six months old.

On 10/17/20 at about 2000 hours, after eating dinner at the Alehouse located at 355 East Kamehameha
Avenue in Kahului,                was upset because she used her credit card to pay for dinner. He knew
             was going to act this way because she had several drinks with her dinner. As the drove away from
the restaurant, he called         to drive up Haleakala Highway to come pick him up. While they drove
mauka bound on Haleakala Highway,                   began to accelerate to more than sixty miles per hour while
swerving on the roadway. He demanded that she pull over because he was worried that she was out of control
and not thinking about their son. After             pulled over on Haleakala between North Firebreak Road
and Keahua Road, she began to punch him in the face and pulled his hair. ALO KAONOHI stated he pushed
her off of him and pulled the ignition key out and exited the vehicle.

ALO KAONOHI related                     followed him for about two hundred feet makai bound on the roadway
when she again began to slap, punch him as she demanded that he return her keys. He asked                to tell
      to drive up to            `s vehicle to retrieve       . When he saw that         was out of the vehicle he
gave               back her keys and was he and           ran into the bushes to hide from              . After
             drove toward North Firebreak Road, he asked             to call                   (hereinafter
referred to as       ), his mother-in-law to pick up       .

After        called him and relayed that she had                          within her vehicle he agreed meet with Officers at the
intersection to give his side of the story.

ALO KAONOHI stated he was not injured as a result of this altercation.

Nothing further added.

BAIL ACKNOWLEDGMENT:

On 10/17/20 at about 2246 hours, within the Processing Room on the Wailuku Police Station located at 55
Mahalani Street in Wailuku, ALO KAONOHI was informed of his Bail utilizing MPD form 121. He related
he understood and signed the form.

Refer to attached.

WARNING CITATION ISSUED:

On 10/17/20 at about 2248 hours, ALO KAONOHI was issued a Warning Citation to stay away from
            and the address located at                 in       This Warning Citation is set to expire on
10/20/20 at 1800 hours. Central Dispatch was notified of the issuance of this Citation.


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Refer to attach.

WOMEN HELPING WOMEN:

Refer to Officer S. LANDSIEDEL`s report.

BODY WORN CAMERA:

This incident was recorded via Body Worn Camera, (Taser AXON #X81353696) issued to this Officer.

ADDITIONAL INFORMATION:

Refer to all other reports documented under this report number.

INVESTIGATION:

The investigation thus far reveals that on 10/17/20 at about 2020 hours, while parked on the shoulder of
Haleakala Highway Near North Firebreak Road in Kahului, the offense of Felony Abuse of a Family or
Household Member - In the Presence of a Minor and Felony Abuse of a Family or Household Member -
Strangulation was committed when Kaulana ALO KAONOHI grabbed                                by her hair and
restricted her breathing for five seconds by forcing her head backwards over the center console within vehicle
bearing Hawaii State license plates           .

Due to this incident,            sustained pain to her head and an abrasion behind her left ear.
declined any medical attention. Witness to this altercation was their one-year-old son.

On 10/17/20 at about 2202 hours, on the east shoulder of Haleakala Highway at North Firebreak Road in
Kahului, ALO KAONOHI was placed under arrest for the offense of Felony Abuse of a Family or Household
Member - Strangulation and Felony Abuse of a Family or Household Member - In the Presence of a Minor.
He was transported to the Wailuku Police Station without incident.

DISPOSITION:

Arrested.




Officer Charles-Blase MASUDA e#15516
P.O. II, Wailuku Patrol Division
10/17/20 @ 0345 Hours.


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Dispatch to respond to the area of Haleakala Highway and North Firebreak Road in Kahului, County of Maui,
State of Hawaii for an abuse type case.

Upon arrival, Officer Masuda made contact with        who appeared highly emotional and was crying while
she spoke. As Officer Masuda spoke to       , he observed a strong odor of liquor emanating from her
person.

         stated Kaulana is her boyfriend and they have a one (1) year old son, K                                in common.

       stated on October 17, 2020 at approximately 2020 hours, while driving home from eating dinner at Ale
House located at 355 East Kamehmeha Avenue in Kahului, she and Kaulana began to argue about going to the
beach and being direct about the needs of K     . Kaulana then call his brother,
(hereinafter "       ") asking to be picked up on the side of the road on Haleakala Highway. After she pulled
over on the west bound shoulder of Haleakala Highway just above the North Fire Break Road, Kaulana
grabbed her bag out of her hands.

Kaulana then briefly exited the vehicle before grabbing her by her hair and pulled her head down to front
passenger`s seat of the vehicle causing her pain to her head. As she struggled with Kaulana, he again grabbed
her hair on the top of her head and forced her head backwards over the center console of the vehicle toward
the rear seat which caused her breathing to be impeded for about five seconds. Kaulana stopped after she
begged him and relayed she could not breathe. While her breathing was impeded she "Thought she was going
to die" if he did not let go. Kaulana then grabbed the vehicle keys and began to walk toward Kahului.

       related K    who as seated less than two feet from her was startled and began to cry as the argument
escalated and became physical.

She followed Kaulana on foot approximately one hundred fifty to two hundred feet where his brother,
                                       and         `s girlfriend, identified as           (hereinafter
referred to as  ), arrived.

       was able to get her keys back from Kaulana. She returned to her vehicle where she discovered that
K      had been taken from his car seat, which was located behind the driver`s seat. She looked for K      for
several minutes before she called         who informed her that her mother,                      (hereinafter
"      ") had been contacted and was coming to pick up K      .

         related her head hurt from her hair being pulled, however she declined medical treatment.

       was observed to have redness and a small abrasion behind her right ear and complained of pain to the
top of her head from Kaulana pulling her hair.

On October 17, 2020 at approximately 2125 hours, with the assistance of Officer Masuda,                                            completed a

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Victim Voluntary Statement Form (MPD Form 100) indicated that she was "physically hurt, harmed,
sustained pain, or injured because of this alteration" by her boyfriend, Kaulana.       also indicated K
was present and witnessed the altercation.          authenticated the aforementioned form by initialing and
signing her name on it.

On October 17, 2020 at approximately 2137 hours, with the assistance of Officer Masuda,    completed a
Strangulation Supplement Form (MPD Form 100-b) indicating while Kaulana pulled her head backwards for
approximately five (5) seconds she could not breathe.

On October 17, 2020 at approximately 2204 hours, Kaulana was driven back to the scene by       and he was
placed under arrest for the offense of Felony Abuse of a Family or Household Member - Strangulation and
Felony Abuse of a Family Member - In the Presence of a Minor. Kaulana was transported to the Wailuku
Police Station for processing without incident.

On October 17, 2020 at approximately 2233 hours, while within the Processing Room of the Wailuku Police
Station, Officer Masuda advised Kaulana of his Constitutional Rights utilizing MPD Form 103. Kaulana
initialed and signed the form indicating he understood his rights.

Kaulana elected to waive his rights and related he has been in a relationship with                                     for approximately
three (3) years and they have son, K     who is a year and six (6) months old.

On October 17, 2020 at about 2000 hours, after eating dinner at the Alehouse located at 355 East
Kamehameha Avenue in Kahului,            was upset because she used her credit card to pay for dinner. He
knew she was going to act this way because she had several drinks with her dinner. As they drove away from
the restaurant, he called       to drive up Haleakala Highway to pick him up. While they drove mauka
bound on Haleakala Highway,          began to accelerate to more than sixty miles per hour while swerving on
the roadway. He demanded that she pull over because he was worried that she was out of control and not
thinking about their son. After      pulled over on Haleakala between North Firebreak Road and Keahua
Road, she began to punch him in the face and pulled his hair. He pushed her off him, pulled the ignition key
out, and exited the vehicle.

       then followed him on foot for about two hundred feet makai bound on the roadway when she again
began to slap, punch him, as she demanded that he return her keys. He asked               to tell       drive up
to       `s vehicle to retrieve K      . When he saw that K        was out of the vehicle he gave         back her
keys and he and            ran into the bushes to hide from her. After         drove toward North Firebreak
Road, he asked            to call                    (hereinafter referred to as "     "), his mother-in-law to
pick up K      .

After        called him and stated she had K                      within her vehicle, he agreed meet with Officers at the
intersection to give his side of the story.


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Kaulana stated he was not injured as a result of this altercation.

On October 17, 2020 at approximately 2248 hours, Officer Masuda issued Kaulana a Warning Citation (Maui
Police Department Form 101) prohibiting him from having any contact with           and to stay away from the
residence, located at              in      . Said Warning Citation is set to expire on October 20, 2020 at
1800 hours.

Officer Landsieldel made contact with             who related he had dinner with at Ale House with          ,
Kaulana and K e.             , Kaulana and K       left after dinner at approximately 2045 hours, he received a
phone call from Kaulana asked for him to be picked up. As he and            were traveling mauka on Haleakala
Highway, he observed Kaulana holding his cell phone in the air on the shoulder of Haleakala Highway just
above North Fire Break Road.             further observed that Kaulana`s head was down and he was hunched
over,         had Kaulana`s shirt in her right hand pull on it from the collar area.       was hitting Kaulana to
the right side of his head with what appeared to be a closed fist, striking him with the bottom of her hand.

Upon review of this report, the following follow up is needed at this time.

1.Re-contact victim,       for statement verification.
2.Conduct a Criminal History check on Kaulana.

VICTIM RE-CONTACTED:


On October 21, 2020 at approximately 0926 hours, this Officer made contact with             via phone
                and she related she did not want to go over her statement she provided. She does not want to
press charges against Kaulana. On the night of the incident, she called the police because she was worried
about her son. She did not want to complete the Victim Voluntary Statement and the Strangulation
Supplemental forms.

     stated she and Kaulana have been dating for about three (3) years and they have a son, K                                           in
common.

She and Kaulana have their arguments, however this was the first time he has been physical with her.

She thinks Kaulana may have felt threatened and reacted the way he did to protect himself as she was trying to
get her purse away from him. She did not want him going through her purse because she did not want him to
grab his wallet and leave. She remembers yelling at Kaulana but does not remember what she said.

At no time during the incident, Kaulana put his hands around her neck. Kaulana did not choke her nor did he
impede her breathing. He immediately let go of her hair when she told him to do so.


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SUMMARY OF INVESTIGATION:

On October 17, 2020 at about 2020 hours,         reported she and her boyfriend with a child in-common,
Kaulana, were involved in a verbal argument within         `s vehicle bearing Hawaii license plates
while it was parked on Haleakala Highway near North Firebreak Road in Kahului.            reported the
argument turned physical when Kaulana grabbed her hair and pushed her head backwards over the center
console, causing pain and her breathing to be impeded for five seconds. Their one-year-old son was present
and witnessed this incident.

On October 17, 2020 at approximately 2125 hours, with the assistance of Officer Masuda,             completed a
Victim Voluntary Statement Form (MPD Form 100) indicated that she was "physically hurt, harmed,
sustained pain, or injured because of this alteration" by her boyfriend, Kaulana.       also indicated K
was present and witnessed the altercation.          authenticated the aforementioned form by initialing and
signing her name on it.

On October 17, 2020 at approximately 2137 hours, with the assistance of Officer Masuda,    completed a
Strangulation Supplement Form (MPD Form 100-b) indicating while Kaulana pulled her head backwards for
approximately five (5) seconds she could not breathe.

On October 17, 2020 at approximately 2204 hours, Kaulana willingly returned to the scene and was placed
under arrest for the offense of Felony Abuse of a Family or Household Member - Strangulation and Felony
Abuse of a Family Member - In the Presence of a Minor. Kaulana was transported to the Wailuku Police
Station for processing without incident.

On October 17, 2020 at approximately 2234 hours, while within the Wailuku Station Processing Room
Kaulana was advised of his Constitutional Rights utilizing MPD Fomr 103. Kaulana acknowledged that he
understood his Constitutional Right by initialing and signing his name on the abovementioned form. Kaulana
related that he was willing to waive his Constitutional Rights and provided the following statement.

In short, he and his girlfriend,      had left Ale House and were heading home within vehicle                .
       was upset because she used her card to pay for dinner. He knew she would be upset because she had
several drinks with dinner. As they left the restaurant, he called          to pick him up on Haleakala
Highway.
They began arguing while traveling mauka on Haleakala Highway and                 accelerated to over 60 miles per
hour while swerving on the roadway. He demanded for               to pull over because he was worried that she
was out of control and not thinking about K       .        pulled over and she began to punch him in the face
and pulled his hair. He then pushed her off, pulled the keys out of the ignition, exited the vehicle and
followed him.

Once                            arrived and he knew K                 was with             , he gave           back her car keys.


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On October 17, 2020 at approximately 2248 hours, Officer Masuda issued Kaulana a Warning Citation (Maui
Police Department Form 101) prohibiting him from having any contact with           and to stay away from the
residence, located at              in      . Said Warning Citation is set to expire on October 20, 2020 at
1800 hours.

On October 21, 2020, this Officer contacted          and she related she does not desire prosecution. She stated,
during the incident Kaulana`s hands were not around her neck. He did not choke her nor did he impede her
breathing. She felt like she could not breathe due to the positioning of her body that was between the front
seats of the vehicle and her neck was bent back. She also believes her medication may have elevated her heart
rate, making it difficult to breathe.




DISPOSITION:

Referred to the Office of the Prosecuting Attorney for review.




____________________________________________
Ashley GANDAULI            E-15404
Criminal Investigation Division
Domestic Violence Unit
Date:    October 22, 2020     Time: 1040 hours




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        and        were en route to pick up Kaulana, he observed Kaulana on the shoulder of Haleakela
Highway just above North Firebreak. Kaulana was holding a cell phone out in the air.             further
observed that Kaulana`s head was down and he was hunched over,             had Kaulana`s shirt in her right
hand pull on it from the collar area.       was hitting Kaulana to the right side of his head with what
appeared to be a closed fist, striking him with the bottom of her hand.

         further related that Kaulana and        are approximately two hundred feet away from there vehicle
which is farther up on the shoulder.         realized that his nephew K       is in the vehicle by himself.
         then separates         and Kaulana,        goes after Kaulana again.

           realizes             is not going to stop and he runs up to where K        is and takes him out of the vehicle.
           gives K           to       and he calls       at this point, asking her to come and pick up K        from
     .

After      and K      leave the area,         makes his way back towards Kaulana and           .       passes
him walking to her vehicle.        then leaves the area and begins making loops on the highway trying to
locate          and Kaulana. She then stops near the intersection of Haleakela and North Firebreak and police
arrive shortly after.

Nothing further to add at this time.

WOMEN HELPING WOMEN:

On 10/18/20 at about 0009 hours, Women Helping Women were contacted and I spoke with
     who was then informed of the information pertaining to this case.

ADDITIONAL INFO:

Refer to all other reports submitted.

Ofc. Steven LANDSIEDEL E#15493
Wailuku Patrol Division
10/18/20 @ 0028 hours




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N. PACLIB
E#15547
11/09/2020 @ 1728 HOURS




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                       Exhibit B
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               Victim Impact Statement dictated to Melissa Milam, Victim Services Coordinator with
the Department of Justice’s Civil Rights Division on February 24, 2023.

Your Honor,

This incident happened 9 years ago. I am really trying to get my life back. A lot has happened to me
throughout my life.                                                         . Then a couple of other
things happened to me that were difficult. Then in 2014 this happened because of Kaulana. He
attacked me from behind and this severely traumatized me. It made me afraid to go out – I couldn’t
even get out of my house to see my aging parents in       .

What Kaulana did to me, totally ruined my life. I remember it like it was yesterday. It was July 20th at
1:20 in the morning that he attacked me from behind and I watched the video of the assault – I have
watched it more than 1000 times and I still can’t understand why he did this to me.
                                                                   . He was vicious and I don’t know
why. No reason for this behavior. He is clearly a very angry man.

My question is why? Why would someone do this to me? I was nearly a dead man.

I want you to know that I was traumatized and I have PTSD. I still think about this and every time I hear
from someone about this case, it takes me right back to July 20th. I can’t get this out of my mind. For the
first five or six years after this vicious assault, I couldn’t even go out. This affected             , my
job, my dog – it affected everything. I really want to be at this upcoming sentencing to support C
K             who I now see as a brother, but it is very painful for me to keep thinking about this and
talking about this.

I truly believe that if the police had done what they were supposed to have done to get Kaulana after
what he did to me, I wouldn’t even be here talking about the impact that this has had on me because he
would have been consequenced and not able to do what he did to me.

No amount of money would cure the problems that I still have to day. The more I watch the video of
C   K         , the more I remember what happened to me and the more I feel traumatized.

I do believe he has to pay the consequence. Eight years in prison is not enough for this behavior. I
almost lost my life only because I was born with white skin. I didn’t even have a chance to defend
myself. He is a coward.

I have been diagnosed with Stage 4 PTSD – I saw 9 different doctors including a physical therapist, a
mental health doctor, a chiropractor, my family doctor and went countless times to my lawyer’s office. I
spent so much time dealing with all of this. The left side of my head is permanently damaged– I continue
to have pain and continual headaches and pain throughout my body – especially back pain. I had 5
stitches due to a head injury. My nose still gives me trouble because it was cracked. The physical pain is
always there. The worst pain is the emotional pain. Even talking about this is really painful for me. I am
disappointed with the system and disappointed with human beings in general. Who gives one human
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being the right to harm another human being? I didn’t even know him and he walked up to me and
viciously attacked me.

Kaulana honestly made me change as a person – I used to be shy and because of what he did to me, he
makes me want to speak up and talk and tell people to watch their surroundings and he has made me
stronger in that I know I have to keep going in my life. I am a warrior and in spite of everything that he
did to me, I will keep going.



Sincerely,
